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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )          Case No.      09-CR-043-SPF
                                           )
LINDSEY KENT SPRINGER,                     )
                                           )
                     Defendant.            )

         UNITED STATES’ MOTION FOR AN ORDER DIRECTING
    MR. SPRINGER TO RETRIEVE SEARCH WARRANT RECORDS AND
    AUTHORIZING THE DESTRUCTION OF RECORDS NOT RETRIEVED

       The United States of America, by and through its attorneys, Danny C. Williams,

Sr., United States Attorney for the Northern District of Oklahoma, and Jeffrey A. Gallant,

Assistant United States Attorney, and Charles A. O’Reilly, Special Assistant United

States Attorney, hereby moves for an order directing Mr. Springer to arrange for the

retrieval of records seized pursuant to the execution of a lawful search warrant, and

authorizing the destruction of records not retrieved. As previously determined by this

Court, the search was lawful (Docket 100). The United States wants to return

Mr. Springer’s property. By letter dated March 27, 2014, the United States requested that

Mr. Springer designate an individual to retrieve those items he is entitled to receive, and

that he agree to the destruction of the remaining items. As part of that request, the United

States asked Mr. Springer to withdraw the pending motion. By letter dated March 27,

2014, Mr. Springer declined. Attachment A.
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       As previously determined, the search and seizure was lawful; nowhere in

Mr. Springer’s motion nor in his declaration does Mr. Springer assert that he is aggrieved

by the deprivation of the property. Mr. Springer’s specious arguments in support of his

Motion to Return Property1 notwithstanding, the United States wants to return the seized

materials, provided that Mr. Springer designates who will be authorized to retrieve them

with a signed notarized statement specifically stating that the identified person has

Mr. Springer’s permission to retrieve the materials. To that end, the United States

requests that this Court order Mr. Springer to retrieve these seized records on or before a

date to be determined by the Court, and that the Court authorize the United States to

destroy any records obtained from the search warrant that remain in the government’s

possession after that date.

       The United States objects to Mr. Springer’s unsupported assertion that the United

States be directed to return all copies of documents and $2,000. The Court previously

considered and rejected Mr. Springer’s assertions that the search was unlawful.

Furthermore, all money seized from Mr. Springer, consisting of $17,000 in currency, was

previously returned. Mr. Springer signed the Release and Receipt of Property for the

money on January 10, 2006. Attachment B.


       1
               Mr. Springer’s assertions, including that IRS Special Agent Brian Shern
was not a federal law enforcement officer, that Magistrate Judge McCarthy lacked
authority, and that Mr. Springer’s home was not within the jurisdiction of the United
States, have all been previously considered and rejected by this Court. Mr. Springer’s
assertion that Federal Rule of Criminal Procedure 41(b) is unconstitutional is simply
another frivolous assertion.

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       The items proposed for return or destruction include various income and expense

records and other paper documents, compact discs and DVDs. The items are specifically

identified in the attached Search Warrant Inventory List, Attachment C. The United States

requests the Court’s order also authorize the destruction of the counterfeit U.S. $10 bill

seized from the computer stand in the garage office, which is contraband per se.

Mr. Springer cannot lawfully possess counterfeit currency. Therefore, the Court should

authorize the United States to destroy the contraband. See Boggs v. Rubin, 161 F.3d 37,

40-41 (DC Cir. 1998); United States v. Rodriguez-Aguirre, 254 F.3d 1195, 1212-13

(10 th Cir. 2001).

Factual Background

       On September 16, 2005, a search warrant was executed at Mr. Springer’s home,

located at 25758 South 201st West Avenue, Kellyville, Oklahoma. As a result of the

search, four boxes of materials were seized, along with $17,000 in cash, images of three

computer hard drives, one computer and computer storage media. See Inventory Listing

of All Items Seized at Search Warrant Site, Attachment C. As Mr. Springer

acknowledges, the United States previously returned vehicle titles and cash. Specifically,

on November 28, 2005 the United States returned the titles and related documents for a

Lexus GS 430 Sedan, a 2001 FRHT HC, and a 2005 Cargo Craft trailer. Mr. Springer’s

$17,000 was returned on January 10, 2006.2 In addition to the items identified by


       2
             Contrary to Mr. Springer’s assertion, only $17,000 was seized, and that was
the amount returned to him January 10, 2006.

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Mr. Springer in his motion, the United States returned a Hitachi Travelstar 40 GB Hard

Drive computer, Model IC25N040ATCS04-0 (Serial Number CSH405DCJMX86B) on

September 19, 2005 that had been seized pursuant to the search warrant. Attachment B.

       The grand jury indicted Mr. Springer and his co-defendant on March 10, 2009, and

trial commenced on October 26, 2009. After a twelve-day trial, the jury returned guilty

verdicts as to all counts and as to each defendant on November 16, 2009. The Court

sentenced Mr. Springer to fifteen years imprisonment, three years of supervised release

and restitution on April 23, 2010; both defendants were remanded. Mr. Springer remains

in prison, with a scheduled release date of May 18, 2023.

       The case is final. The Tenth Circuit of Appeals issued a mandate affirming the

conviction and sentence on December 6, 2011, and the United States Supreme Court

denied Mr. Springer’s petition for certiorari on June 4, 2012. Mr. Springer’s Motion

Under U.S.C. § 2255 to Vacate, Set Aside or Correct a Sentence by a Person in Federal

Custody is currently pending with this Court. Should the United States need the materials

from the seized records, retained copies will suffice.

       By letter dated and received by Mr. Springer on March 27, 2014, the United States

requested that Mr. Springer withdraw his motion and arrange for a designated agent to

retrieve the materials he seeks to retrieve through his Motion to Return Property. The

letter was sent via electronic mail to a counselor at FCI La Tuna for immediate delivery to

Mr. Springer, and was also sent via U.S. Postal mail. As noted above, Mr. Springer

declined to withdraw his motion. See Attachment A.

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       For the foregoing reasons, this Court should grant the United States’ motion and

order Mr. Springer to arrange for and retrieve the seized materials by a date determined

by the Court, and should authorize the United States to destroy any seized materials that

remain in its possession after that date. Finally, the Court should authorize the destruction

of the counterfeit $10 bill seized during the search warrant as contraband.

DATED:        7 April 2014
                                           Respectfully submitted,

                                           DANNY C. WILLIAMS, SR.
                                           UNITED STATES ATTORNEY

                                             /s/ Charles A. O’Reilly
                                           CHARLES A. O’REILLY, CBA NO. 160980
                                           Special Assistant United States Attorney
                                           JEFFREY GALLANT
                                           Assistant United States Attorney
                                           110 West Seventh Street, Suite 300
                                           Tulsa, Oklahoma 74119
                                           (918) 382-2700




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 7th day of April 2014, I electronically transmitted the

foregoing document to the Clerk of Court using the ECF System for filing, and also

served the foregoing document by United States Postal Mail, to:


      Lindsey Kent Springer
      Defendant
      FCI La Tuna
      Federal Correctional Institution
      P.O. Box 6000
      Anthony, TX 88021
      Inmate Number 02580-063.




                                             /s/ Charles A. O’Reilly
                                          Charles A. O’Reilly
                                          Special Assistant United States Attorney




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